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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                                  4:13CR3057
      vs.
                                                       MEMORANDUM AND ORDER
SCOTT USHER, ROBIN USHER,
                     Defendants.


       Defendant Robin Usher has moved to continue the pretrial motion deadline, (filing
no. 32), because the defendant and defense counsel need additional time to fully review the
discovery received before deciding if pretrial motions should be filed.. The motion to
continue is unopposed. Based on the showing set forth in the motion, the court finds the
motion should be granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant Robin Usher’s motion to continue, (filing no. 32), is granted.

       2)     As to both defendants, pretrial motions and briefs shall be filed on or before
              March 21, 2014.

       3)     The ends of justice served by granting the motion to continue outweigh the
              interests of the public and the defendants in a speedy trial. Accordingly, as to
              both defendants, the additional time arising as a result of the granting of the
              motion, the time between today’s date and March 21, 2014, shall be deemed
              excludable time in any computation of time under the requirements of the
              Speedy Trial Act, because this case remains “unusual and complex,” and
              continues to be exempted from the time restrictions of the Speedy Trial Act,
              18 U.S.C. 3161(h)(7)(B)(ii)i.

       March 12, 2014.                             BY THE COURT:
                                                   s/ Cheryl R. Zwart
                                                   United States Magistrate Judge
